      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
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      Of Attorneys for Debtor-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                             Case No. 18-31644-pcm11

       Sunshine Dairy Foods Management, LLC,             APPLICATION OF DEBTOR-IN-
                                                         POSSESSION FOR AUTHORITY TO
                                                         EMPLOY ATTORNEY
                      Debtor-in-Possession.              (Vanden Bos & Chapman, LLP)

               The applicant Debtor-in-Possession, ("Debtor"), respectfully represents:

               1.   Debtor has filed a petition under Chapter 11 of the Bankruptcy Code.

               2.   Debtor wishes to employ the firm of Vanden Bos & Chapman, LLP ("VBC"),

      attorneys duly admitted to practice in this Court, as Debtor's attorney in this proceeding.

               3.   Debtor has selected VBC for the reason that VBC has experience in matters of

      this character, having worked on many other Chapter 11 cases as attorneys.

               4.   The professional services that VBC is to render include: (a) to give Debtor legal

      advice with respect to Debtor's powers and duties as debtor-in-possession in the operation

      of Debtor's business; (b) to institute such adversary proceedings as are necessary in the

      case; (c) to represent Debtor generally in the proceedings and to propose on behalf of

      Debtor as debtor-in-possession necessary applications, answers, orders, reports and other

Page 1 of 3     APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO              VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
                EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                         319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



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      legal papers; and (d) to perform all other legal services for the debtor-in-possession or to

      employ an attorney for such professional services.

              5.    To the best of Debtor’s knowledge, VBC has no connection with the creditors or

      any other adverse party or its attorneys, except as disclosed in the Rule 2014 Verified

      Statement on file herein.

              6.    VBC represents no interest adverse to the Debtor as debtor-in-possession or to

      the estate in the matters upon which VBC is to be engaged, except as disclosed in the Rule

      2014 Verified Statement on file herein. VBC's employment would be in the best interests of

      the estate.

              7.    The proposed rate of compensation, subject to final court approval, is the

      customary, hourly rates in effect when services are performed by the attorneys, legal

      assistants and staff who provide services to the Debtor. The proposed terms of

      employment are as set forth in the Attorney/Client Fee Agreement, a copy of which is

      attached as Exhibit A which has been executed by the Debtor and VBC. The current

      hourly rates are as follows:

                      Robert J Vanden Bos, Managing Partner            $520
                      Ann K. Chapman, Partner                          $450
                      Douglas R. Ricks, Partner                        $395
                      Christopher N. Coyle, Partner                    $375
                      Certified Bankruptcy Assistants                  $250
                      Legal Assistants                                 $130

      These hourly rates are subject to periodic adjustment to reflect economic conditions and

      increased experience and expertise in this area of the law.

              WHEREFORE, Debtor prays that Debtor shall be authorized to employ and appoint

      the firm of Vanden Bos & Chapman, LLP to represent Debtor as Debtor-in-Possession in

      this proceeding under Chapter 11 of the Bankruptcy Code.

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                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



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              Debtor further prays for an Order approving the terms and conditions of VBC's

      employment as set forth in the Attorney/Client Fee Agreement attached hereto as Exhibit

      A.

              DATED: May 9, 2018

                                              VANDEN BOS & CHAPMAN, LLP



                                              By:/s/Douglas R. Ricks
                                                Douglas R. Ricks, OSB #044026
                                                Of Attorneys for Debtor-in-Possession

                                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC


                                              By:/s/Norman Davidson, III
                                                 Norman Davidson, III
                                                 President of Karamanos Holdings, Inc.
                                                 Managing Member of Debtor-in-Possession




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                                                                                          Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                       319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
                                                                                           (503) 241-4869



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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                            )
                                             18-31644-pcm11
                                 ) Case No. ________________
Sunshine Dairy Foods Management, )
LLC                              ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                        ) FOR PROPOSED PROFESSIONAL
                                           (Vanden Bos & Chapman, LLP)
Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
        N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
        See Attached Continuation Statement No. 13.




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
    Payment of $100,000.00 was made on May 8, 2018 by Karamanos Holdings, Inc.




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
     Karamanos Holdings, Inc. - Managing Member of Debtor; holder of 94% of membership interest in
     Debtor.




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
     N/A




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
     To Be Provided by Amendment.




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21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
    To Be Provided by Amendment.




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
    To Be Provided by Amendment.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
    To Be Provided by Amendment.




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
    To Be Provided by Amendment.




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               /s/Douglas R. Ricks
                                                                              Applicant

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Chapter 11 Bankruptcy Case No. 18-31644-pcm11



Continuation Statement No. 13:

    1. Applicant’s firm, Vanden Bos & Chapman, LLP (“VBC”), maintains deposit
accounts at KeyBank and a credit card account at KeyBank, which is used exclusively
for payments on the Court’s CM/ECF System. VBC also maintains a credit card
account with Capital One for business expenses. Both the KeyBank and Capital One
credit card accounts are paid off monthly with no balance carried forward. Attorneys
and staff at VBC may have social or other professional relationships with Bankruptcy
Court judges, the Clerk of the Bankruptcy Court, clerks and/or staff of the Bankruptcy
Court, employees of the office of the United States Trustee, other federal employees,
and individuals who are members of law firms involved in this case or who are
employed by creditors or other parties in interest. Other than with respect to the United
States Bankruptcy Court for the District of Oregon and the Office of the U.S. Trustee or
as otherwise outlined herein, VBC has conducted no investigation of its attorneys or
staff members’ employment, banking, insurance, brokerage or investment activities or
familial connections in preparing this statement.

   2. The spouse of one of the Partners of Applicant is a Tier One PERS retiree. The
spouse of another of the Partners of Applicant is a current employee of the State of
Oregon. The State of Oregon and its respective agencies, is a potential creditor and
party in interest in this case.

   3. VBC does not have banking relationships with any of the creditors in the case.

    4. Aflac Group Insurance is a creditor in the case. An employee at VBC participates
in Aflac Group Insurance through monthly payroll deductions.

   5. Pacific Office Automation is a creditor in the case. VBC purchases office
equipment from Pacific Office Automation and has an open account as an ongoing
customer for copier supplies. Balances are paid to zero on a monthly basis.

    6. Pitney Bowes Purchase Power is a creditor in the case. VBC purchases postal
meter equipment from Pitney Bowes and has an open account as an ongoing customer
for the purchase of postage and rental of a postage meter. Balances are paid to zero
as incurred.

   7. Stoel Rives, LLP is a creditor in the case. VBC requested legal advice from a
partner at Stoel Reeves more than 10 years ago for which VBC paid a fee of less than
$500. The matter was unrelated to this case and has been closed for more than ten
years. VBC also served as conflicts counsel in the Chapter 11 Bankruptcy case of Blue
Heron Paper Company, with Stoel Rives serving as primary counsel for the Debtor in
Possession in that case. VBC’s file in this matter was closed in 2013.




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Ch 11 Bankruptcy Case No. 18-31644-pcm11



                               CERTIFICATE - TRUE COPY

DATE:             May 9, 2018

DOCUMENT:        APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO
                 EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP) and RULE 2014
                 VERIFIED STATEMENT FOR PROPOSED PROFESSIONAL (Vanden
                 Bos & Chapman, LLP)

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                                CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

 Sunshine Dairy Foods Management, LLC
 Attn: Norman Davidson, III
 801 NE 21st Ave.
 Portland, OR 97232


by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

        Dated: May 9, 2018

                                        VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Douglas R. Ricks
                                          Douglas R. Ricks, OSB #044026
                                          Of Attorneys for Debtor-in-Possession




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